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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 1:16-cv-22482-RNS


       CATHERINE PAPASAN et al. and all
       persons similarly situated,


                        Plaintiffs,

       v.

       DOMETIC CORPORATION, a Delaware
       Corporation,

                        Defendant.


     DEFENDANT’S UNOPPOSED MOTION TO FILE UNDER SEAL DOMETIC’S
  OPPOSITION TO PLAINTIFFS’ MOTION TO EXCLUDE THE EXPERT TESTIMONY
   OF AMY GRAY, SONYA KWON, DOMINIQUE HANSSENS, AND ROBIN CANTOR

            Pursuant to the parties’ Stipulated Protective and Confidentiality Order [ECF No. 18] and
  Local Rule 5.4, Defendant Dometic Corporation (“Dometic”) seeks leave to file its Opposition to
  Plaintiffs’ Motion to Exclude the Expert Testimony of Amy Gray, Sonya Kwon, Dominique
  Hanssens, and Robin Cantor (“Opposition”) under seal. In support thereof, Dometic states:
            1.     Dometic’s Opposition will include information and attach exhibits that Dometic
  has designated “Confidential” or “Highly Confidential” pursuant to the parties’ agreed protective
  and confidentiality order, including in particular internal information regarding Dometic-branded
  gas absorption refrigerators, such as warranty claims data and analyses thereof.
            2.     For the convenience of the Court, attached is a proposed Order granting this
  Motion.
            3.     Dometic respectfully requests that the documents remain sealed unless and until a
  party challenges the designation and the Court resolves the challenge in favor of the objecting
  party.
            4.     Counsel for Dometic has conferred with Plaintiffs’ counsel in accordance with
  Local Rule 7.1(a)(3) and counsel for Plaintiffs does not oppose the relief requested in the Motion.
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         WHEREFORE, Dometic respectfully requests that this Court enter an order allowing
  Dometic to file its Opposition to Plaintiffs’ Motion to Exclude the Expert Testimony of Amy Gray,
  Sonya Kwon, Dominique Hanssens, and Robin Cantor under seal.
  Dated: May 14, 2019                         Respectfully submitted:

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                                  CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on May 14, 2019, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel of record via transmission of Notices of Electronic Filing generated
  by CM/ECF.


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